               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION
                                2:13 cr 12-4


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )            ORDER
                                             )
TARYN KRISTA ELIZABETH                       )
TOINEETA RATTLER.                            )
______________________________________       )


        THIS CAUSE coming on to be heard before the undersigned, pursuant to a

letter (#112) sent by Defendant to United States District Judge Martin Reidinger.

In the letter, Defendant requests that new counsel be substituted for her present

counsel, Attorney Ronald Justice. At the call of this matter on for hearing it

appeared that Defendant was present with her counsel Ronald Justice and the

Government was present through Assistant United States Attorney Tom Kent.

From the statements of Defendant, the statements of Mr. Justice and Mr. Kent, on

behalf of the Government, the Court makes the following findings:

        Findings.   At the call of this matter, the undersigned conducted an inquiry

with Defendant in a sealed proceeding and excluded Mr. Kent from the courtroom.

This was done out of an abundance of caution to insure that no confidential

communications between Defendant and her attorney would be disclosed. After

conducting the sealed proceeding, the undersigned determined that no confidential

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communications between Defendant and Mr. Justice were discussed in the inquiry

and as a result, will refer to the discussions in this Order.

      Defendant advised the Court that she had written the letter to express

concern over the fact that in Defendant’s opinion, she was not being provided, by

the Swain County Detention Center, with appropriate medications to assist her in

regard to her pregnancy and that she had been placed in an isolation cell with no

visits or telephone calls. The undersigned explained to Defendant that the actions

of the Swain County Sheriff’s Office had not been caused by Mr. Justice nor was

there really anything that Mr. Justice could do other than have discussions about

the issues with the United States Marshals. Defendant advised the Court that she

had been misinformed concerning the authority of her attorney in these matters and

that she was satisfied with her representation by Mr. Justice.

      Defendant entered a plea of guilty on September 11, 2013 to conspiracy to

distributing a controlled substance, that being marijuana, oxycodone and cocaine.

The Defendant is awaiting sentencing in this matter.

      Discussion. An indigent Defendant has no right to have a particular lawyer

represent him or her and can demand a different appointed attorney only with good

cause. US v. Allen, 789 F.2d 90, 92 (1st Cir. 1986) The determination of whether

or not a motion for substitution of counsel should be granted is within the


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discretion of the trial court and the Court is entitled to take into account the

countervailing state interest in proceeding on schedule. Morris v. Slappy, 461 U.S.

1 (1983) In considering the letter herein, the undersigned has considered the

following factors: (1) timeliness of the motion; (2) inquiry as to the reasons why

Defendant does not wish for Mr. Justice to represent her further; and (3) whether or

not there is such a conflict between Defendant and Mr. Justice that is so great it has

resulted in a total lack of communication preventing an adequate defense. United

States v. Gallop, 838 F.2d 105 (4th Cir. 1988)

      The undersigned would consider that the motion of Defendant for

substitution of counsel has been filed at a late stage in this case and Mr. Justice has

represented Defendant throughout the proceedings and Defendant is now awaiting

sentencing.

      The undersigned inquired as to the reasons for the conflict between

Defendant and Mr. Justice and it appears that Defendant had been given false

information concerning the authority of Mr. Justice to govern the place and terms

and conditions of detention of Defendant. This incorrect information that was

provided to the Defendant shows that this factor must be weighed against allowing

Defendant’s motion.

      The undersigned has further examined this matter to determine whether or


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not there is such a conflict between Mr. Justice and Defendant that there is a total

lack of communication between them preventing an adequate defense. It clearly

appears that such a conflict does not exist in this matter. Mr. Justice is an excellent

attorney who works diligently on behalf of his clients and the undersigned is

satisfied that he is doing an excellent job for the Defendant in this matter.

      After considering all of the factors, it appears that the undersigned cannot

find any reason for the appointment of another attorney and there does not appear

to be a lack of communication between Defendant and Mr. Justice that would

prevent an adequate defense. Based upon the foregoing, the undersigned has

determined to enter an Order denying Defendant’s request for substitution of new

counsel.

                                       ORDER

      IT IS, THEREFORE, ORDERED that the letter (#112) of Defendant

which has been considered as a motion for substitution of counsel is hereby

DENIED.

                                                Signed: October 24, 2013




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